USCA4 Appeal: 25-1640    Doc: 26-1      Filed: 07/01/2025   Pg: 1 of 25       Total Pages:(1 of 25)




                                         No. 25-1640

                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                                     _____________

                   SOLUTIONS IN HOMETOWN CONNECTIONS, et al.,
                                                     Plaintiffs-Appellees,
                                               v.
                                     KRISTI NOEM, et al.,
                                                    Defendants-Appellants.
                                      _______________
           On Appeal from a denial of a preliminary injunction from the United States
                         District Court for the District of Maryland
                        Case no. 25-cv-885, Hon. Lydia K. Griggsby
                                      _______________

          BRIEF OF AMICUS CURIAE RMC RESEARCH AND CHILD TRENDS,
           INCORPORATED IN SUPPORT OF APPELLANTS AND REVERSAL
                               ________________
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USCA4 Appeal: 25-1640    Doc: 26-1        Filed: 07/01/2025    Pg: 2 of 25       Total Pages:(2 of 25)




                         CORPORATE DISCLOSURE STATEMENT

              Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, Amicus

        Curiae states that it has no parent corporation and no publicly held corporation

        owns 10% or more of its stock.




                                                 ii
USCA4 Appeal: 25-1640            Doc: 26-1                Filed: 07/01/2025             Pg: 3 of 25                 Total Pages:(3 of 25)




                                                 TABLE OF CONTENTS


        INTERESTS OF AMICUS CURIAE ....................................................................... 1

        SUMMARY OF THE ARGUMENT ........................................................................ 2

        ARGUMENT ............................................................................................................ 5

           I.      The District Court’s Tucker Act Analysis was Erroneous as to the
                   Constitutional Claims ................................................................................... 5

                   A. The Government’s Jurisdictional Arguments Do Not Apply to
                      Freestanding Constitutional Claims ........................................................ 5

                   B. Sovereign Immunity Does Not Apply to Appellants’ Constitutional
                      Claims...................................................................................................... 6

                   C. The District Court’s Opinion Contravenes Webster v. Doe.................... 8

           II.     The Court Should Not Follow the Erroneous Emergency Stay Decision in
                   Sustainability Institute ................................................................................ 11

           III.    Dalton Does not Displace Webster or Apply Here .................................... 14

        CONCLUSION ....................................................................................................... 18




                                                                    iii
USCA4 Appeal: 25-1640            Doc: 26-1               Filed: 07/01/2025            Pg: 4 of 25                Total Pages:(4 of 25)




                                              TABLE OF AUTHORITIES
        Cases
        Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320 (2015) .................. 7, 11, 12
        Board of Governors of Fed. Reserve System v. MCorp Financial, Inc.,
         502 U.S. 32 (1991) ............................................................................................... 12
        Cf. Elgin v. Dep’t of Treasury, 567 U.S. 1 (2012) .................................................. 10
        Chamber of Com. of U.S. v. Reich, 74 F.3d 1322 (D.C. Cir. 1996) .............. 7, 16, 17
        Child Trends, Inc. v. Department of Education, No. 8:25-cv-01154 (D. Md.) ..... 1, 2
        Collins v. Dep’t of the Treasury, 83 F.4th 970 (5th Cir. 2023) ............................... 11
        Collins v. Yellen, 594 U.S. 220 (2021) ................................................................ 8, 15
        Crowley Gov’t Servs., Inc. v. Gen. Servs. Admin., 38 F.4th 1099
         (D.C. Cir. 2022)...................................................................................................... 6
        Dalton v. Specter, 511 U.S. 462 (1994) ...........................................................passim
        Demore v. Kim, 538 U.S. 510 (2003) ...................................................................... 10
        Department of Education v. California, 145 S. Ct. 966 (2025) ........................ 3, 5, 6
        Fisher v. United States, 402 F.3d 1167 (Fed. Cir. 2005) .......................................... 9
        Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477 (2010) ..... 8, 13, 14
        Garland v. Aleman Gonzalez, 596 U.S. 543 (2022) ................................................ 10
        Ham v. Breckon, 994 F.3d 682 (4th Cir. 2021) ....................................................... 11
        In re Aiken Cnty., 725 F.3d 255 (D.C. Cir. 2013) ......................................... 5, 17, 18
        In re al-Nashiri, 791 F.3d 71 (D.C. Cir. 2015) ....................................................... 10
        INS v. St. Cyr, 533 U.S. 289 (2001) ........................................................................ 10
        LeBlanc v. United States, 50 F.3d 1025 (Fed. Cir. 1995) ..................................... 3, 9
        Marozsan v. United States, 852 F.2d 1469 (7th Cir. 1988) ..................................... 10
        Megapulse, Inc. v. Lewis, 672 F.2d 959 (D.C. Cir. 1982) ......................................... 6
        Strickland v. United States, 32 F.4th 311 (4th Cir. 2022) ..................................... 3, 7




                                                                   iv
USCA4 Appeal: 25-1640             Doc: 26-1               Filed: 07/01/2025            Pg: 5 of 25                 Total Pages:(5 of 25)




        Sustainability Institute v. Trump,
          No. 25-1575, 2025 WL 1587100 (4th Cir. June 5, 2025) ............................ 1, 2, 11
        Webster v. Doe, 486 U.S. 592 (1988)...............................................................passim
        Widakuswara v. Lake, No. 25-5144,
         2025 WL 1288817 (D.C. Cir. May 3, 2025) ........................................................ 13
        Widakuswara v. Lake,
         No. 25-5144, 2025 WL 1521355 (D.C. Cir. May 28, 2025) ................................ 13
        Statutes
        5 U.S.C. § 702 ....................................................................................................... 3, 5
        28 U.S.C. § 1491(a)(1) .............................................................................................. 9
        Other Authorities
        William Baude et al., Hart and Wechsler’s The Federal Courts and the Federal
         System (8th ed. 2025) .......................................................................................... 10




                                                                    v
USCA4 Appeal: 25-1640     Doc: 26-1         Filed: 07/01/2025    Pg: 6 of 25        Total Pages:(6 of 25)




                              INTERESTS OF AMICUS CURIAE1

              Child Trends, Inc. and RMC Research are the plaintiffs in Child Trends, Inc.

        v. Department of Education, No. 8:25-cv-01154 (D. Md.). In that case, they

        challenge, inter alia, the termination of their grants by the Department of

        Education. Like the plaintiffs in the instant case, Child Trends and RMC Research

        assert constitutional separation of powers challenges to their grant terminations.

              In a Memorandum Opinion dated June 11, 2025, the district court in Child

        Trends declined to enter a preliminary injunction against the grant terminations,

        solely on the basis of this Court’s unpublished stay decision in Sustainability

        Institute v. Trump, No. 25-1575, 2025 WL 1587100 (4th Cir. June 5, 2025). The

        district court recognized that Webster v. Doe, 486 U.S. 592 (1988) requires an

        express statement from Congress where a plaintiff would be left with no forum to

        bring a constitutional challenge. See Child Trends, No. 8:25-cv-01154, ECF No. 41

        at 16 n.12 (D. Md. June 11, 2025). But the court held that, “[i]n light of the panel

        decision in Sustainability Institute, the Court is unable to conclude that [it] has

        jurisdiction over Plaintiffs’ Terminations Claims.” Id. at 16-17.




        1
         All parties have consented to the filing of this brief. RMC Research and Child
        Trends affirm that no counsel for a party authored this brief in whole or in part, no
        counsel or party made a monetary contribution intended to fund the preparation or
        submission of this brief, and no person other than RMC Research and Child Trends
        or its counsel made such a monetary contribution.

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USCA4 Appeal: 25-1640     Doc: 26-1         Filed: 07/01/2025    Pg: 7 of 25        Total Pages:(7 of 25)




              The instant appeal raises the same question as in Child Trends and

        Sustainability Institute: whether the Tucker Act strips district courts of jurisdiction

        to hear constitutional challenges against grant terminations when the grantees

        cannot challenge the constitutionality of the terminations in the Court of Federal

        Claims. Child Trends and RMC Research thus have a direct interest in the outcome

        of this appeal. Child Trends and RMC Research submit this brief as amicus curiae

        to discuss why the district court had jurisdiction over Appellants’ separation of

        powers claims, and why Dalton v. Specter, 511 U.S. 462 (1994), does not foreclose

        those claims either.

                               SUMMARY OF THE ARGUMENT

              This Court should reverse the district court’s holding that the Tucker Act

        stripped the court of jurisdiction to hear Appellants’ constitutional separation of

        powers claims. The government has effectively conceded in the parallel appeal in

        Sustainability Institute v. Trump, No. 25-1575 (4th Cir.), that the district court in

        this case and the stay panel in Sustainability Institute erred in concluding that the

        Tucker Act strips district court jurisdiction over constitutional claims.

              The district court incorrectly applied its analysis of the Tucker Act’s impact

        on Administrative Procedure Act (APA) claims to Appellants’ constitutional

        claims. The court’s analysis centered on an issue specific to the APA—whether the

        Tucker Act “impliedly forbids” the APA’s waiver of sovereign immunity from


                                                   2
USCA4 Appeal: 25-1640     Doc: 26-1        Filed: 07/01/2025     Pg: 8 of 25        Total Pages:(8 of 25)




        applying for purposes of 5 U.S.C. § 702. The court applied case law, including

        Department of Education v. California, 145 S. Ct. 966 (2025), addressing that

        APA-specific question.

              But that precedent has no bearing on freestanding constitutional claims, for

        two reasons. First, as this Court has held, “sovereign immunity does not apply”

        where plaintiffs allege that federal officials “acted unconstitutionally.” Strickland

        v. United States, 32 F.4th 311, 363 (4th Cir. 2022). The court missed that the basis

        upon which it found no jurisdiction over Appellants’ APA claims—sovereign

        immunity—is wholly inapplicable to Appellants’ separation of powers claims.

              Second, and more fundamentally, Supreme Court precedent requires that

        Congress expressly, not impliedly, strip a district court of jurisdiction to hear

        constitutional claims where the plaintiffs would have no alternative forum to bring

        those claims. See Webster v. Doe, 486 U.S. 592 (1988). That is the case here,

        because Appellants cannot bring separation of powers claims in the Court of

        Federal Claims. See LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir. 1995).

        The Tucker Act does not expressly strip district courts of jurisdiction to hear grant

        termination claims, and thus Webster controls here.

              Indeed, “to avoid the serious constitutional question that would arise if a

        federal statute were construed to deny any judicial forum for a colorable

        constitutional claim,” Webster, 486 U.S. at 603, the Supreme Court has never held


                                                   3
USCA4 Appeal: 25-1640      Doc: 26-1        Filed: 07/01/2025     Pg: 9 of 25         Total Pages:(9 of 25)




        that a federal statute strips a plaintiff of a forum to challenge the constitutionality

        of a government action. There is no basis to read the Tucker Act to be the first ever

        such federal statute, which would likely render the Act unconstitutional.

              Perhaps recognizing that Webster precludes its Tucker Act defense for

        constitutional claims, the government has shifted gears in the parallel

        Sustainability Institute appeal. Relying on Dalton v. Specter, 511 U.S. 462, the

        government now argues that separation of powers claims in grant termination cases

        are not “bona fide” constitutional claims. If the government makes the same

        argument here, it will be a confession that the district court erred in denying relief

        on the constitutional claims based on the Tucker Act.

              As for the government’s argument under Dalton, this Court should reject it.

        Courts including the D.C. Circuit have held that Dalton’s holding is limited to

        claims related to discretionary presidential decisions. The decision stands for the

        proposition that the President’s decision is unreviewable when left to his complete

        discretion, and plaintiffs cannot evade that restriction by alleging a “separation of

        powers” violation based on some failure to adhere to a statutory provision related

        to the decision. In contrast, and as the D.C. Circuit has also made clear, plaintiffs

        may assert separation of powers claims that are based on an agency’s refusal to

        comply with “statutory mandates.” In re Aiken Cnty., 725 F.3d 255, 259 (D.C. Cir.

        2013) (Kavanaugh, J.).


                                                    4
USCA4 Appeal: 25-1640    Doc: 26-1        Filed: 07/01/2025    Pg: 10 of 25     Total Pages:(10 of 25)




              This case involves such statutory mandates. Exercising its constitutional

        power of the purse, Congress required through appropriations acts that the

        Department of Homeland Security (DHS) spend specific sums of money on the

        Citizenship and Integration Grant Program (CIGP). The grant terminations at issue

        directly result in DHS violating those mandates. The terminations strike at the core

        of the separation of powers.

                                          ARGUMENT

         I.   The District Court’s Tucker Act Analysis was Erroneous as to the
              Constitutional Claims

                 A. The Government’s Jurisdictional Arguments Do Not Apply to
                    Freestanding Constitutional Claims

              In this case and the wave of other recent cases challenging the termination of

        grants, the government’s Tucker Act jurisdictional arguments have all been

        specific to APA claims—and in particular whether the APA’s waiver of sovereign

        immunity applies. Under 5 U.S.C. § 702, the APA’s waiver of sovereign immunity

        does not apply if another statute “expressly or impliedly forbids” the relevant APA

        claim, and the government’s argument has been that the Tucker Act “impliedly”

        forbids APA claims challenging the termination of grants. See Gov’t Br. at 12-14,

        Dep’t of Educ. v. California, 145 S. Ct. 966 (2024) (No. 24A).

              In support of this argument, the government has relied on a series of cases

        originating from the D.C. Circuit applying a two-part test for whether the Tucker


                                                 5
USCA4 Appeal: 25-1640      Doc: 26-1         Filed: 07/01/2025     Pg: 11 of 25       Total Pages:(11 of 25)




        Act “impliedly forbids” a particular APA claim (for purposes of the APA’s

        sovereign immunity waiver). Crowley Gov’t Servs., Inc. v. Gen. Servs. Admin., 38

        F.4th 1099, 1106-08 (D.C. Cir. 2022); see Megapulse, Inc. v. Lewis, 672 F.2d 959,

        968 (D.C. Cir. 1982) (setting forth D.C. Circuit test that looks to the “source of the

        rights” for a claim and the “type of relief sought”).

               The government has also relied extensively, in this case and others, on the

        Supreme Court’s emergency docket order in Department of Education v.

        California, 145 S. Ct. 966. That case involved only an APA arbitrary-and-

        capricious claim, and the Supreme Court’s order was strictly cabined to “the

        APA’s limited waiver of immunity.” Id. at 968.

               None of the government’s jurisdictional arguments, or the precedent upon

        which the government has relied, has any applicability to freestanding

        constitutional claims. That is so for two independent reasons: (1) sovereign

        immunity is not an issue for claims seeking to enjoin federal officials from acting

        unconstitutionality; (2) under Webster v. Doe, the Tucker Act must expressly—not

        impliedly—preclude district court jurisdiction over constitutional claims, because

        Appellants have no other forum to assert their constitutional claims.

                  B. Sovereign Immunity Does Not Apply to Appellants’
                     Constitutional Claims

               The Fourth Circuit has been clear that “sovereign immunity does not apply

        when a plaintiff files suit seeking equitable relief against federal officials . . .

                                                     6
USCA4 Appeal: 25-1640      Doc: 26-1         Filed: 07/01/2025   Pg: 12 of 25      Total Pages:(12 of 25)




        alleging that those officials exceeded the scope of their authority and/or acted

        unconstitutionally.” Strickland, 32 F.4th at 363 (emphasis added). With such

        claims, the official’s actions “are considered individual and not sovereign actions.”

        Id. “So, there is no sovereign immunity to waive—it never attached in the first

        place.” Chamber of Com. of U.S. v. Reich, 74 F.3d 1322, 1329 (D.C. Cir. 1996);

        see also Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015) (“The

        ability to sue to enjoin unconstitutional actions by state and federal officers is the

        creation of courts of equity.” (Scalia, J.)).

              The district court failed to recognize or apply this black-letter law. The

        court’s analysis focused almost entirely on sovereign immunity and “the interplay

        between the APA and the Tucker Act.” JA739-41. Then, in a single sentence, the

        court simply lumped Appellants’ separation of powers and ultra vires claims

        together with the APA claims, without any recognition of the critical distinction

        with respect to sovereign immunity. JA746.

              Outside of sovereign immunity, the district court pointed to no legal basis

        for concluding that it lacked jurisdiction over Appellants’ constitutional claims.

        The court pointed to no legal doctrine or precedent for finding that Congress’s

        grant of jurisdiction to an Article I court to hear certain other types of claims—

        namely, breach of contract claims—deprives Article III courts of their historic

        jurisdiction to hear claims against federal officials for violating the Constitution,


                                                    7
USCA4 Appeal: 25-1640     Doc: 26-1         Filed: 07/01/2025    Pg: 13 of 25       Total Pages:(13 of 25)




        including the “separation of powers.” See Free Enter. Fund v. Pub. Co. Acct.

        Oversight Bd., 561 U.S. 477, 491 n.2 (2010). The Supreme Court has made clear

        that, “whenever a separation-of-powers violation occurs, any aggrieved party with

        standing may file a constitutional challenge.” Collins v. Yellen, 594 U.S. 220, 245

        (2021).

                  C. The District Court’s Opinion Contravenes Webster v. Doe

              The district court indeed must have jurisdiction over Appellants’

        constitutional claims here, because otherwise Appellants would have no forum to

        assert their constitutional claims. Where such would occur, and to avoid having to

        assess whether such an outcome would be unconstitutional, Webster v. Doe and its

        progeny mandate an express—not implied—statement from Congress that it

        intends a statute like the Tucker Act to strip district court jurisdiction over

        constitutional claims. The Tucker Act contains no such clear statement, and the

        district court erred in applying a test that assesses whether the Tucker Act

        “impliedly” precludes certain claims.

               There can be no dispute that Appellants cannot bring their separation of

        powers claims in the Court of Federal Claims. Under the relevant Tucker Act

        provision, 28 U.S.C. § 1491(a)(1), federal contractors may bring constitutional

        claims in the Court of Federal Claims only if the relevant constitutional provision

        is “money-mandating,” meaning it entitles a particular individual to a particular


                                                   8
USCA4 Appeal: 25-1640     Doc: 26-1         Filed: 07/01/2025    Pg: 14 of 25       Total Pages:(14 of 25)




        sum of money. Fisher v. United States, 402 F.3d 1167, 1173 (Fed. Cir. 2005). The

        Federal Circuit has held that plaintiffs may not assert separation-of-powers claims

        under § 1491(a)(1), because the relevant constitutional provisions are not money-

        mandating. LeBlanc, 50 F.3d at 1028. Thus, if this Court lacks jurisdiction over

        Appellants’ constitutional claims, Appellants would have no judicial forum to

        assert constitutional claims.

              But Webster v. Doe held that “where Congress intends to preclude judicial

        review of constitutional claims its intent to do so must be clear.” 486 U.S. at 603.

        The Court “require[s] this heightened showing in part to avoid the serious

        constitutional question that would arise if a federal statute were construed to deny

        any judicial forum for a colorable constitutional claim.” Id. (quotations omitted).

        Here, the Tucker Act contains no clear statement that it precludes district court

        from hearing constitutional challenges to the administration of a grant, including

        grant terminations.

              Webster is binding on this Court. The Supreme Court has recently—and

        repeatedly—relied on Webster’s clear-statement rule to reject arguments that

        would result in a statute stripping district courts of jurisdiction over constitutional

        claims. See, e.g., Garland v. Aleman Gonzalez, 596 U.S. 543, 554 (2022); Demore

        v. Kim, 538 U.S. 510, 517 (2003); cf. Elgin v. Dep’t of Treasury, 567 U.S. 1, 10

        (2012) (distinguishing Webster because the statute allowed for the constitutional


                                                   9
USCA4 Appeal: 25-1640     Doc: 26-1        Filed: 07/01/2025    Pg: 15 of 25      Total Pages:(15 of 25)




        claims in an alternate forum). To the knowledge of undersigned counsel, the

        Supreme Court has never read a statute to preclude a party from having any

        judicial forum to challenge the constitutionality of a government action, to “avoid

        squarely facing” the “serious constitutional question” that such a statute would

        present. William Baude et al., Hart and Wechsler’s The Federal Courts and the

        Federal System 462 (8th ed. 2025).

              This Court should not go where the Supreme Court has never gone. There is

        simply no basis for the Tucker Act to be the first-ever federal statute that denies

        parties any forum to challenge the constitutionality of government action. “The

        [Webster] rule is an interpretive tool of constitutional avoidance,” Collins v. Dep’t

        of the Treasury, 83 F.4th 970, 980–81 (5th Cir. 2023), which in this case compels

        holding that the district court had jurisdiction over Appellants’ constitutional

        claim. See In re al-Nashiri, 791 F.3d 71, 76–77 (D.C. Cir. 2015); Marozsan v.

        United States, 852 F.2d 1469, 1473 (7th Cir. 1988) (en banc); id. at 1483 (Posner,

        J., concurring); see also INS v. St. Cyr, 533 U.S. 289, 298-300, 314, 326 (2001)

        (employing constitutional avoidance canon to read statute as not stripping

        jurisdiction over habeas claim).

              The district court’s jurisdictional analysis for Appellants’ constitutional

        claims should have begun and ended with Webster. But the court nowhere

        acknowledged Webster or its clear-statement rule. That rule controls here.


                                                  10
USCA4 Appeal: 25-1640     Doc: 26-1        Filed: 07/01/2025    Pg: 16 of 25      Total Pages:(16 of 25)




        II.   The Court Should Not Follow the Erroneous Emergency Stay Decision
              in Sustainability Institute

              This Court should not follow the recent non-precedential stay panel decision

        in Sustainability Institute v. Trump, No. 25-1575, 2025 WL 1587100 (4th Cir. June

        5, 2025),2 as the government will likely urge it to do. The stay order did not

        address Webster at all, nor did it acknowledge that parties cannot bring separation

        of powers claims in the Court of Federal Claims. The order focused primarily on

        the plaintiffs’ APA claims. It devoted just a single sentence to the constitutional

        claims at issue there, and provided no substantive analysis on why “it appear[ed]

        unlikely” that the district court had jurisdiction over those claims. 2025 WL

        1587100, at *2. The order instead cited three other cases to support its assertion,

        but as explained below, those cases are either inapposite or have been reversed.

              First, the panel relied on Armstrong, 575 U.S. at 327-28, for the conclusion

        that the Tucker Act imposes an “implied statutory limitation[]” on bringing ultra

        vires and constitutional claims in district court. But Armstrong has no relevance

        here. For one, the relevant portions of Armstrong involved an alleged statutory

        violation (specifically, a provision of the Medicaid Act)—not the Constitution. See

        id. at 322. For another, the Court in Armstrong emphasized that the Medicaid Act


        2
         The Fourth Circuit has “been clear” that “an unpublished, non-precedential
        decision … [does] not constitute binding authority under [Fourth] circuit rules,”
        nor should it be read to “demarcate a change” in existing law. Ham v. Breckon, 994
        F.3d 682, 692-93 (4th Cir. 2021) (alterations and quotations omitted).

                                                  11
USCA4 Appeal: 25-1640      Doc: 26-1        Filed: 07/01/2025     Pg: 17 of 25      Total Pages:(17 of 25)




        provided a different “method of enforcing the substantive rule[s]” in the statute

        that the plaintiffs sought to enforce in district court. Id. at 328. Here, however,

        because the Court of Federal Claims lacks jurisdiction over constitutional claims,

        there is no other “method” for a plaintiff to enforce the relevant constitutional

        “substantive rule[s].” In all events, Armstrong ultimately turned on the fact that,

        unlike here, the relevant statute (again, not a constitutional provision) was

        “judicially unadministrable,” because its standards were vague and subjective. See

        id. at 328.

               The stay panel also cited Board of Governors of Fed. Reserve System v.

        MCorp Financial, Inc., 502 U.S. 32 (1991), but that case is equally off point. As in

        Armstrong, the alleged violations in Board of Governors were statutory violations,

        not constitutional ones. 502 U.S. at 43. And the statute in Board of Governors

        provided an alternative forum (the FISA court) for the plaintiff to bring the very

        same statutory claim it sought to raise instead in district court. See id. Finally,

        Board of Governors emphasized that the relevant statute “clearly and directly”

        stripped district courts of jurisdiction over the claims asserted there. Id. at 44.

        Indeed, Board of Governors reiterated “the familiar proposition that only upon a

        showing of clear and convincing evidence of a contrary legislative intent should

        the courts restrict access to judicial review.” Id. at 466 (quotations omitted). Again,




                                                   12
USCA4 Appeal: 25-1640     Doc: 26-1        Filed: 07/01/2025    Pg: 18 of 25       Total Pages:(18 of 25)




        the Tucker Act does not clearly and convincingly evidence congressional intent to

        strip plaintiffs from raising constitutional claims in any forum.

              Lastly, Sustainability Institute cited a stay panel decision in Widakuswara v.

        Lake, No. 25-5144, 2025 WL 1288817, at *5 (D.C. Cir. May 3, 2025), but the en

        banc D.C. Circuit reversed the Tucker Act portion of that stay order. See 2025 WL

        1521355, at *1 (D.C. Cir. May 28, 2025). The en banc court reversed

        “substantially for the reasons explained by Judge Pillard” in her initial dissent from

        the stay order. Id. There, Judge Pillard explained that the district court had

        jurisdiction over the constitutional claims because “the Court of Claims could not

        adjudicate plaintiffs’ constitutional claims,” and because “[c]onstitutional claims

        for injunctive or declaratory relief face no sovereign immunity bar.” 2025 WL

        1288817, at *12 (Pillard, J., dissenting). The government did not seek Supreme

        Court review of the en banc order adopting Judge Pillard’s reasoning.3




        3
          The government may point to the Supreme Court’s recent discussion of “non-
        statutory” claims in Nuclear Regulatory Commission v. Texas, 145 S. Ct. 1762
        (2025). But the Court’s discussion concerned non-statutory review of alleged
        statutory violations. Id. at 1776. The Court’s analysis has no bearing on
        freestanding constitutional claims. See Free Enter. Fund, 561 U.S. at 491 n.2.

                                                  13
USCA4 Appeal: 25-1640     Doc: 26-1         Filed: 07/01/2025    Pg: 19 of 25       Total Pages:(19 of 25)




        III.   Dalton Does not Displace Webster or Apply Here

               In its more recent briefing in Sustainability Institute, the government has

        effectively conceded that the Tucker Act does not preclude jurisdiction over

        freestanding constitutional claims. The government now does not rely on the

        Tucker Act with respect to those claims, and instead argues only that the separation

        of powers claims are not “bona fide constitutional claims.” Sustainability Institute,

        Gov’t C.A. Br., Doc. 54 at 14-15, No. 25-1575 (4th Cir. June 23, 2025); see id.,

        Resp. C.A. Br., Doc. 52 at 37-38 (same). The government erroneously relies on

        Dalton v. Specter, 511 U.S. 462, for that proposition.

               As an initial matter, the government’s abandonment of its Tucker Act

        argument as to constitutional claims is a confession of error by the district court

        here (and the stay panel in Sustainability Institute). The district court’s rejection of

        the separation of powers claims in this case rested solely on the Tucker Act, which

        the government now longer sets forth as the basis for denying an injunction on the

        constitutional claims.

               And the government is wrong that Appellants’ claims are not “bona fide”

        constitutional claims. The Supreme Court has decidedly rejected any suggestion

        that separation of powers claims hold second-class constitutional status. Free

        Enter. Fund, 561 U.S. at 491 n.2. There is “no reason and . . . no authority” that

        “separation-of-powers claim should be treated differently than every other


                                                   14
USCA4 Appeal: 25-1640     Doc: 26-1         Filed: 07/01/2025       Pg: 20 of 25    Total Pages:(20 of 25)




        constitutional claim.” Id. Far from it, separation of power claims may be brought

        by any aggrieved party, because “the separation of powers is designed to preserve

        the liberty of all the people.” Collins, 594 U.S. at 245.

              Nor is there any basis for treating separations of powers claims differently

        when they are premised on agency refusals to comply with statutory mandates. The

        government has misread Dalton in arguing otherwise. In Dalton, the President was

        said to have violated the “procedural requirements” of a statute governing closure

        of military bases by “accepting procedurally flawed” recommendations issued by a

        federal commission for the closure of the Philadelphia Naval Shipyard. 511 U.S. at

        474, 476. While the Court assumed “that some claims that the President violated a

        statutory mandate are judicially reviewable outside the framework of the APA,” it

        reaffirmed that “such review is not available when the statute in question commits

        the decision to the discretion of the President.” Id. at 474. There, the governing

        statute did “not at all limit the President’s discretion in approving or disapproving

        the Commission’s recommendations.” Id. at 476.

              In reaching this holding, Dalton explained that not every procedural statutory

        violation gives rise to a constitutional violation, where the ultimate decision is left

        to the President’s discretion. The Court’s cases did “not support the proposition that

        every action by the President, or by another executive official, in excess of his

        statutory authority is ipso facto in violation of the Constitution.” Id. at 472 (emphasis


                                                   15
USCA4 Appeal: 25-1640     Doc: 26-1        Filed: 07/01/2025    Pg: 21 of 25      Total Pages:(21 of 25)




        added). Because the statute committed the challenged decision “to the discretion of

        the President,” id. at 474, that discretionary decision was not subject to judicial

        review, and the plaintiffs could not avoid that limitation by framing the alleged

        procedural violations as constitutional ones.

              The D.C. Circuit and other courts have since held that Dalton’s holding is

        limited to claims challenging discretionary statutory decisions. The D.C. Circuit

        has held: “Dalton’s holding merely stands for the proposition that when a statute

        entrusts a discrete specific decision to the President and contains no limitations on

        the President’s exercise of that authority, judicial review of an abuse of discretion

        claim is not available.” See Reich, 74 F.3d at1331 (emphasis added). In Reich, the

        government argued, using language markedly similar to the government’s

        arguments in Sustainability Institute, that Dalton foreclosed constitutional claims

        because they were “statutory claims in constitutional dress.” Br. for Appellee at 23,

        Reich, 1995 WL 17204619 (Oct. 26, 1995). Rejecting the government’s argument,

        the D.C. Circuit explained that “Dalton is inapposite where the claim instead is that

        the presidential action—not one, it should be added, even contemplated by

        Congress—independently violates” the statute at issue. Reich, 74 F.3d at 1332.

              Consistent with this understanding of Dalton, the D.C. Circuit has also held

        that an agency’s refusal to comply with a statute does give rise to a separation of

        powers violation where the agency violates clear “statutory mandates.” In re Aiken


                                                 16
USCA4 Appeal: 25-1640     Doc: 26-1        Filed: 07/01/2025     Pg: 22 of 25      Total Pages:(22 of 25)




        Cnty., 725 F.3d at 259. In Aiken County, then-Judge Kavanaugh issued a writ of

        mandamus based on an agency’s constitutional violation in refusing to “comply

        with the law as it has been set by Congress.” Id. at 257. The Nuclear Regulatory

        Commission had “declined to continue the statutorily mandated Yucca Mountain

        licensing process.” Id. at 260. The court held that, “[u]nder Article II of the

        Constitution and relevant Supreme Court precedents, the President must follow

        statutory mandates.” Id. at 259. Thus, although the agency action reflected a

        statutory violation, the court’s holding was that the agency violated the separation

        of powers. Because “our constitutional system of separation of powers would be

        significantly altered if [the Court] were to allow executive … agencies to disregard

        federal law,” the court’s “decision … rest[ed] on the constitutional authority of

        Congress, and the respect that the Executive and the Judiciary properly owe to

        Congress.” Id. at 267.

              The instant case, like Aiken County and unlike Dalton, involves “statutory

        mandates.” Congress, in exercising its exclusive constitutional power of the purse,

        appropriated $25 million to DHS for CIGP in Fiscal Year 2023, and another $25

        million for the program in Fiscal Year 2024. These appropriations reflect

        mandatory directives to DHS to obligate and spend the “full amount appropriated

        by Congress for [the] particular . . . program.” In re Aiken Cnty., 725 F.3d at 261

        n.1. The only permissible way for DHS to spend less than that amount is for “the


                                                  17
USCA4 Appeal: 25-1640     Doc: 26-1        Filed: 07/01/2025   Pg: 23 of 25       Total Pages:(23 of 25)




        President [to] propose the rescission of funds, and Congress then may decide

        whether to approve a rescission bill.” Id. at 261 n.1 As the Government

        Accountability Office has explained, “the Impoundment Control operates on the

        premise that when Congress appropriates money to the executive branch, the

        President is required to obligate the funds.” B-329092 (Dec. 12, 2017) (emphasis

        added); accord B-332654 (Nov. 12, 2020); B–203057, Sept. 15, 1981.

              DHS’s mass termination of the CIGP grants here violates the separation of

        powers, by permanently impounding the appropriations that Congress required to

        be spent. The FY2023 funds have already expired, meaning the government cannot

        re-obligate the funds from the terminated grants if the terminations are effectuated.

        The funds will disappear forever if the terminations are not reversed, contrary to

        Congress’ clear command. The FY2024 funds expire on September 30, 2025, and

        given DHS’s elimination of CIGP in its entirety, there can be no doubt that these

        funds will be unconstitutionally impounded if the terminations go through.

              The separation of powers violations are more than “bona fide” in these

        circumstances. “[T]he constitutional authority of Congress, and the respect that the

        Executive and the Judiciary properly owe to Congress,” In re Aiken Cnty., 725

        F.3d at 267, require this Court to reverse the decision below.

                                          CONCLUSION

              For the reasons stated above, the Court should reverse.


                                                 18
USCA4 Appeal: 25-1640   Doc: 26-1   Filed: 07/01/2025   Pg: 24 of 25    Total Pages:(24 of 25)




                                        Respectfully submitted,

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                                          19
USCA4 Appeal: 25-1640    Doc: 26-1         Filed: 07/01/2025    Pg: 25 of 25      Total Pages:(25 of 25)




                              CERTIFICATE OF COMPLIANCE

              I hereby certify that the foregoing amicus brief complies with the word limit

        of Federal Rules of Appellate Procedure 29(a)(5) and 32(a)(7) because the brief

        contains 4,211 words. The brief complies with the typeface and type-style

        requirements of Federal Rules of Appellate Procedure 32(a)(5) and (6) because it

        has been prepared using Microsoft Word in proportionally spaced 14-point Times

        New Roman font.



                                               /s/Daniel F. Jacobson
                                               Daniel F. Jacobson



                                 CERTIFICATE OF SERVICE

              I hereby certify that on July 1, 2025, I electronically filed the foregoing

        motion with the Clerk of the Court for the United States Court of Appeals for the

        Fourth Circuit by using the appellate CM/ECF system. Participants in the case are

        registered CM/ECF users, and service will be accomplished by the appellate

        CM/ECF system.

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                                                 20
